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                                                                                         May 27, 2022
District Judge Lewis J. Liman
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

By Electronic Filing.

       Re:     Carol Lopez v. City of New York, et al., 20-cv-2502-LJL

Dear Judge Liman:

        My firm represents the Plaintiff in this matter. I write jointly with Defendants to ask for an
extension of the current discovery schedule. This is the third such motion.

        By way of background, the Court previously granted two extensions — and Defendants
currently have a combination motion to dismiss and motion to stay Monell discovery pending. Plaintiff
has not moved to compel Monell discovery in light of that motion, but no Monell discovery has been
exchanged. Additionally, Plaintiff very recently had a knee surgery related to this incident, and the
parties are in the process of obtaining and exchanging related records and releases.

        With that background, we suggest that the Court enter a contingent extension — shifting the
current discovery schedule out sine die, to be solidified based on the resolution of Defendants’ motion
to stay and dismiss. Following that order, the parties will quickly consult and file a proposed new
schedule.

       As always, we thank the Court for its time and consideration.

                                                       Respectfully submitted,
                                                           /s/
                                                       ______________________
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cc:
All relevant parties by ECF and Email.
